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    1   Kaveh S. Elihu, Esq. (SBN 268249)
        Rhett T. Francisco, Esq. (SBN 232749)
    2   Daniel J. Friedman, Esq. (SBN 289670)
        EMPLOYEE JUSTICE LEGAL GROUP, P.C.
    3   3055 Wilshire Boulevard, Suite 1120
        Los Angeles, California 90010
    4   Telephone: (213) 382-2222
        Facsimile: (213) 382-2230
    5   Attorneys for Plaintiff,
    6   DOMINIQUE WASHINGTON

    7
        REGINA A. PETTY, SBN 106163
    8   rpetty@fisherphillips.com
        SHAUN J. VOIGT, SBN 265721
    9   svoigt@fisherphillips.com
        SEAN F. DALEY, SBN 272493
   10   sdaley@fisherphillips.com
        FISHER & PHILLIPS LLP
   11   444 South Flower Street, Suite 1500
        Los Angeles, California 90071
   12   Telephone: (213) 330-4500
        Facsimile: (213) 330-4501
   13
        Attorneys for Defendant
   14   FEDEX GROUND PACKAGE SYSTEM, INC.
   15

   16
                           UNITED STATES DISTRICT COURT
   17
               CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
   18

   19   DOMINIQUE WASHINGTON, an                 Case No. 2:19-cv-05226-MCS-(KSx)
        individual,                              Removed from Los Angeles Superior
   20                                            Court Action No. 19STCV16767
   21                           Plaintiff,       JOINT EXHIBIT LIST
   22                                            Final Pre-Trial Conference
                 vs.                             Date: June 21, 2021
   23                                            Time: 2:00 p.m.
                                                 Dept: 7C
        FEDEX GROUND PACKAGE
   24   SYSTEM, INC., a Delaware corporation;    Action filed: May 14, 2019
        and DOES 1 through 20, inclusive,        Trial date: July 13, 2021
   25

   26   Defendants.
   27

   28


                           JOINT STATUS REPORT REGARDING SETTLEMENT
        FP 40666955.1
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    1
                                  JOINT TRIAL EXHIBIT LIST
    2

    3
         Pursuant to Federal Rule of Civil Procedure 26 and Local Rule 16-6.1, Plaintiff
    4
           Dominique Washington and Defendant FedEx Ground Package System, Inc.
    5
          (“FedEx Ground”) hereby submit their Joint Trial Exhibit List.PLAINTIFF’S
    6
                                      POTENTIAL EXHIBITS
    7    Exhibit            Description     Objection    Date                 Date
    8    Number                            and Reasons Identified           Admitted
         1.             Medical Work
    9                   Status Report
                        dated 4/23/2017
   10
                        Encounter – placed
                        off work From
                        4/24/2017 –
   11                   4/26/2017
                        WASH0020
   12
         2.             4/24/2017 internal
   13                   Fed Ex email re
                        Doctor’s note
   14                   FXG 00415
   15    3.             4/26/2017 internal
                        Fed Ex email re
   16                   Plaintiff returning
                        to work
   17                   FXG00416
   18    4.             4/26/2017 internal
                        email from
   19                   Melissa Madrid re
                        terminate
   20
                        (FXG00418)

   21
         5.             4/26/2017 internal
                        email from
                        Melissa Madrid re
   22                   suspension(FXG00
                        419)
   23
         6.             5/8/2017 internal
   24                   Fed Ex email re
                        Plaintiff going to
   25                   urgent care
                        FXG00420
   26
         7.             5/8/2017 Package
   27                   Handler Document
   28

                                                      1
                                              JOINT EXHIBIT LIST
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    1    Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
                        Discussion
    3                   FXG00014

    4    8.             5/9/2017 internal
                        email from
    5
                        Alejandro Nunez
                        (FXG00421)
    6    9.             5/9/2017 internal
                        Fed Ex email re
    7                   Plaintiff is ill
                        (FXG00424)
    8
         10.            5/9/2017 internal
    9                   email from
                        Alejandro Nunez
   10                   (FXG00425)
   11    11.            5/9/2017 email
                        from Freddy
   12                   Bahena re
                        attendance
   13                   (FXG00422-423)

   14    12.            5/9/2017 email
                        from Freddy
   15
                        Bahena re
                        unexcused absence
                        (FXG00426-427)
   16
         13.            5/9/2017 Package
   17                   Handler Document
                        Discussion
   18                   (FXG00013)
   19    14.            5/10/2017 Package
                        Handler Document
   20                   Discussion
                        FXG00015
   21
         15.            5/11/2017 internal
   22                   email re Plaintiff
                        called out sick
   23                   (FXG00428)

   24    16.            5/11/2017
                        Employee
   25
                        Separation Form
                        FXG00011-12
   26    17.            Medical Work
                        Status Report
   27                   dated5/12/2017
                        placed off work
   28

                                                     2
                                             JOINT EXHIBIT LIST
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    1    Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
                        from 5/10-5/12
    3                   WASH00018-19

    4    18.            5/12/2017 Final
                        Paycheck
    5
                        (FXG00018)
         19.            5/15/2017 internal
    6                   email re checks
                        (FXG00429)
    7
         20.            5/15/2017 email re
    8                   Plaintiff call in
                        sick (FXG00430)
    9
         21.            5/15/2017 email
   10                   from Nunez
                        forwarding call in
   11                   sick email
                        (FXG00431)
   12
         22.            5/15/2017 email
   13                   from Nunez re
                        make sure give
   14                   them a call
                        (FXG00432)
   15    23.            5/15/2017 Contact
                        Documentation
   16                   Log for Final Pay
                        (FXG00016)
   17
         24.            5/16/2017
   18                   California
                        Employee Change
   19                   In Status
                        Notification
   20                   (Involuntary
                        Termination)
   21                   (FXG00017)
   22    25.            Timecard Detail
                        for Dominique
   23                   Washington
                        (FXG00112)
   24
         26.            Timecard Detail           FRE 402
   25
                        for Casey Robledo
                        (FXG00110)              (Irrelevant);
   26                                          FRE 403 (Not
                                                 probative);
   27                                             FRE 803
   28                                            (Hearsay)

                                                     3
                                             JOINT EXHIBIT LIST
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    1    Exhibit           Description       Objection              Date         Date
    2    Number                            and Reasons            Identified   Admitted
         27.            Timecard Detail       FRE 402
    3                   for Alejandro
                        Nunez               (Irrelevant);
    4
                        (FXG00109)         FRE 403 (Not
                                             probative);
    5                                         FRE 803
    6                                        (Hearsay)
         28.            Timecard Detail       FRE 402
    7                   for Melissa Madrid
                        (FXG00111)          (Irrelevant);
    8                                      FRE 403 (Not
                                             probative);
    9                                         FRE 803
   10                                        (Hearsay)
         29.            5/19/2017 Consent
   11                   To Operate
                        (WASH00023-24)
   12
         30.            Package Handler
   13                   Attendance (FXG
                        00104-108)
   14    31.            Package Handler
   15
                        Job Description
                        (FXG00060-63)
   16    32.            Anti-Harassment
                        and Anti-
   17                   Discrimination
                        Policy (FXG
   18                   00099-103)
   19    33.            Nunez                     FRE 402
                        Documented
   20                   Discussion dated        (Irrelevant);
                        5/30/2016 re           FRE 403 (Not
   21                   violation of anti-       probative);
                        discrimination
   22                   policy                    FRE 803
                        (FXG00125-126)           (Hearsay)
   23
         34.            Nunez                     FRE 402
   24                   Documented
                        Discussion dated        (Irrelevant);
   25
                        5/10/2017 re           FRE 403 (Not
                        MyTime                   probative);
                        (FXG00131-132)
   26                                             FRE 803
   27                                            (Hearsay)

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                                                     4
                                             JOINT EXHIBIT LIST
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    1    Exhibit           Description         Objection          Date         Date
    2    Number                              and Reasons        Identified   Admitted
         35.            Robledo                 FRE 402
    3                   Documented
                        Discussion dated      (Irrelevant);
    4
                        3/23/2015 re         FRE 403 (Not
                        attendance             probative);
                        (FXG00296-298)
    5                                           FRE 803
    6                                          (Hearsay)
         36.            Robledo                 FRE 402
    7                   Documented
                        Discussion dated      (Irrelevant);
    8                   2/6/2019 re          FRE 403 (Not
                        attendance             probative);
    9
                        (FXG00284)
                                                FRE 803
   10                                          (Hearsay)
         37.            Robledo                 FRE 402
   11                   Documented
                        Discussion dated      (Irrelevant);
   12                   3/13/2019 re         FRE 403 (Not
                        attendance             probative);
   13                   (FXG00286)
                                                FRE 803
   14                                          (Hearsay)
         38.            Robledo                 FRE 402
   15                   Documented
                        Discussion dated      (Irrelevant);
   16                   3/19/2019 re         FRE 403 (Not
                        attendance             probative);
   17                   (FXG00288)
                                                FRE 803
   18                                          (Hearsay)
         39.\           Robledo                 FRE 402
   19                   Documented
                        Discussion dated      (Irrelevant);
   20                   3/25/2019 re         FRE 403 (Not
                        attendance             probative);
   21                   (FXG00246-247)
                                                FRE 803
   22                                          (Hearsay)
         40.            Robledo                 FRE 402
   23                   Documented
                        Discussion dated      (Irrelevant);
   24                   4/23/2019 re         FRE 403 (Not
                        attendance             probative);
   25                   (FXG00248-249)
                                                FRE 803
   26                                          (Hearsay)
         41.            Robledo                 FRE 402
   27                   Documented
                        Discussion dated      (Irrelevant);
   28                   7/30/2019 re         FRE 403 (Not
                                                   5
                                           JOINT EXHIBIT LIST
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    1    Exhibit           Description         Objection          Date         Date
    2    Number                              and Reasons        Identified   Admitted
                        attendance             probative);
    3                   (FXG00254-255))
                                                FRE 803
    4                                          (Hearsay)
         42.            Madrid                  FRE 402
    5                   Documented
                        Discussion dated      (Irrelevant);
    6                   8/28/2014 re         FRE 403 (Not
                        attendance             probative);
    7
                        (FXG00376)
                                                FRE 803
    8                                          (Hearsay)
         43.            Madrid                  FRE 402
    9                   Documented
                        Discussion dated      (Irrelevant);
   10                   10/1/2014 re         FRE 403 (Not
                        attendance             probative);
   11                   (FXG00377-378)
                                                FRE 803
   12                                          (Hearsay)
         44.            Madrid                  FRE 402
   13                   Documented
                        Discussion dated      (Irrelevant);
   14                   7/8/2015 re          FRE 403 (Not
                        attendance             probative);
   15                   (FXG00374-375)
                                                FRE 803
   16                                          (Hearsay)
         45.            Madrid                  FRE 402
   17                   Documented
                        Discussion dated      (Irrelevant);
   18                   7/31/2015 re         FRE 403 (Not
                        attendance             probative);
   19                   (FXG00379)
                                                FRE 803
   20                                          (Hearsay)
         46.            Madrid                  FRE 402
   21                   Documented
                        Discussion dated      (Irrelevant);
   22                   9/4/2015 re          FRE 403 (Not
                        attendance             probative);
   23                   (FXG00381)
                                                FRE 803
   24                                          (Hearsay)
         47.            Madrid                  FRE 402
   25                   Documented
                        Discussion dated      (Irrelevant);
   26                   9/8/2015 re          FRE 403 (Not
                        attendance             probative);
   27                   (FXG00385-387)
                                                FRE 803
   28                                          (Hearsay)
                                                   6
                                           JOINT EXHIBIT LIST
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    1    Exhibit           Description         Objection          Date         Date
    2    Number                              and Reasons        Identified   Admitted
         48.            Madrid                  FRE 402
    3                   Documented
                        Discussion dated      (Irrelevant);
    4
                        9/16/2015 re         FRE 403 (Not
                        attendance             probative);
                        (FXG00380)
    5                                           FRE 803
    6                                          (Hearsay)
         49.            Madrid                  FRE 402
    7                   Documented
                        Discussion dated      (Irrelevant);
    8                   10/8/2015 re         FRE 403 (Not
                        attendance             probative);
    9
                        (FXG00383)
                                                FRE 803
   10                                          (Hearsay)
         50.            Madrid                  FRE 402
   11                   Documented
                        Discussion dated      (Irrelevant);
   12                   10/16/2015 re        FRE 403 (Not
                        attendance             probative);
   13                   (FXG00382)
                                                FRE 803
   14                                          (Hearsay)
         51.            Madrid                  FRE 402
   15                   Documented
                        Discussion dated      (Irrelevant);
   16                   1/10/2017 re         FRE 403 (Not
                        MyTime                 probative);
   17                   (FXG00363-364)
                                                FRE 803
   18                                          (Hearsay)
         52.            Madrid                  FRE 402
   19                   Documented
                        Discussion dated      (Irrelevant);
   20                   1/3/2019 re          FRE 403 (Not
                        attendance             probative);
   21                   (FXG00354-366)4
                                                FRE 803
   22                                          (Hearsay)
         53.            Madrid                  FRE 402
   23                   Documented
                        Discussion dated      (Irrelevant);
   24                   2/7/2019 re          FRE 403 (Not
                        Attendance(FXG0        probative);
   25                   00367-368)
                                                FRE 803
   26                                          (Hearsay)
         54.            Dominique
   27                   Washington Gold
                        Certificates of
   28                   Recognition
                                                   7
                                           JOINT EXHIBIT LIST
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    1    Exhibit           Description          Objection           Date            Date
    2    Number                                and Reasons        Identified      Admitted
                        (WASH00021,
    3                   WASH00041)

    4    55.            Expert Witness
                        Report of Dr.
    5
                        Anthony Reading
         56.            Supplemental
    6                   Expert Witness
                        Report of Dr.
    7                   Anthony Reading
    8    57.            Expert Witness
                        Report of Dr.
    9                   Tamorah Hunt
   10    58.            Supplemental
                        Expert Witness
   11                   Report of Dr.
                        Anthony Reading
   12

   13
                Plaintiff reserves the right to add additional exhibits as a result of opposing
   14
        parties’ witness’ testimony, to add additional rebuttal exhibits, to add additional
   15
        exhibits used for impeachment, to withdraw any of the above-mentioned exhibits,
   16
        and to identify and/or seek admission of exhibits listed by the opposing party.
   17

   18
                             DEFENDANT’S POTENTIAL EXHIBITS
   19
         Exhibit           Description          Objection           Date            Date
   20    Number                                and Reasons        Identified      Admitted
   21    300.           FedEx Ground’s
   22                   Anti-Harassment
                        and Anti-
   23                   Discrimination
   24                   Policy
                        (FXG000099-
   25                   FXG000103)
   26                   **Also currently
   27
                        designated as
                        Plaintiff’s Ex. 32
   28

                                                     8
                                             JOINT EXHIBIT LIST
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    1
         Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
    3    301.           Employee
    4                   Handbook for
                        FedEx Ground
    5                   Package Handlers
    6                   (Washington00004
                        8-77)
    7

    8    302.           Employee
                        Handbook
    9                   Acknowledgement
   10                   (FXG000008)

   11    303.           Package Handler
                        Attendance Policy
   12
                        (FXG000104-
   13                   FXG000108)
   14                   **Also currently
                        designated as
   15
                        Plaintiff’s Ex. 30
   16
         304.           Complaint for
   17                   Damages filed by
   18                   Plaintiff

   19    305.           Plaintiff’s Time
                        Detail Report
   20
                        (FXG000031-
   21                   FXG000050)
   22    306.           Plaintiff’s
   23                   Responses to
                        Defendant FedEx
   24                   Ground’s Special
   25                   Interrogatories
                        (Set One)
   26

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                                             JOINT EXHIBIT LIST
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    1
         Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
    3    307.           4/23/17 Kaiser
    4                   Permanente
                        Medical Record
    5

    6    308.           4/23/17 Kaiser
                        Permanente Work
    7                   Status Report
    8                   (Washington00002
                        0)
    9
                        **Also currently
   10                   designated as
   11
                        Plaintiff’s Ex. 1

   12    309.           5/3/17 Kaiser          FRE 403 (Not
                        Permanente              probative);
   13                   Medical Record           FRE 803
   14                                           (Hearsay)
   15    310.           5/5/17 Kaiser              (Not
   16                   Permanente              probative);
                        Medical Record           FRE 803
   17                                           (Hearsay)
   18
         311.           5/12/17 Kaiser         FRE 403 (Not
   19                   Permanente              probative);
                        Medical Record           FRE 803
   20
                                                (Hearsay)
   21
         312.           5/12/17 Kaiser
   22                   Permanente Work
   23                   Status Report
                        (Washington00000
   24                   2-3)
   25                   **Also currently
   26                   designated as
                        Plaintiff’s Ex. 17
   27

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                                                    10
                                             JOINT EXHIBIT LIST
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    1
         Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
    3    313.           5/15/2017 Dorothy
    4                   Hecht Center
                        Doctor’s Note
    5                   (Washington00000
    6                   1)
    7    314.           5/8/2017 Package
    8                   Handler
                        Documented
    9                   Discussion
   10                   (FXG000014)

   11
                        **Also currently
                        designated as
   12                   Plaintiff’s Ex. 7
   13    315.           5/9/2017 Package
   14                   Handler
                        Documented
   15
                        Discussion
   16                   (FXG000013)
   17                   **Also currently
                        designated as
   18                   Plaintiff’s Ex. 13
   19
         316.           5/10/2017 Package
   20                   Handler
   21
                        Documented
                        Discussion
   22                   (FXG000015)
   23                   **Also currently
                        designated as
   24
                        Plaintiff’s Ex. 14
   25
         317.           Employee
   26                   Separation Form
   27                   (FXG000011)
   28

                                                    11
                                             JOINT EXHIBIT LIST
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    1
         Exhibit           Description          Objection           Date         Date
    2    Number                                and Reasons        Identified   Admitted
    3                   **Also currently
                        designated as
    4
                        Plaintiff’s Ex. 16
    5
         318.           Contact
    6                   Documentation
    7                   Log (FXG000016)
    8                   **Also currently
                        designated as
    9                   Plaintiff’s Ex. 23
   10
         319.           California
   11                   Employee Change
                        in Status
   12
                        Notification
   13                   (FXG000017)
   14                   **Also currently
                        designated as
   15
                        Plaintiff’s Ex. 24
   16
         320.           FedEx Ground              FRE 402
   17                   EEO Statement           (Irrelevant);
   18                   (Washington00004       FRE 403 (Not
                        6)                       probative);
   19                                             FRE 803
   20                                            (Hearsay)

   21    321.           Paystubs from
                        subsequent
   22
                        employment
   23                   (Washington00016
                        4-186)
   24

   25    322.           Resources ID              FRE 402
                        Manager                 (Irrelevant);
   26                   (Washington00004       FRE 403 (Not
   27                   7)                       probative);
   28

                                                    12
                                             JOINT EXHIBIT LIST
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    1
         Exhibit           Description         Objection           Date         Date
    2    Number                               and Reasons        Identified   Admitted
    3                                            FRE 803
                                                (Hearsay)
    4

    5    323.           4/27/2017 E-mail
                        from Melissa
    6                   Madrid to
    7                   Alejandro Nunez
                        (FXG000418)
    8
                        **Also currently
    9                   designated as
   10                   Plaintiff’s Ex. 4

   11    324.           4/27/2017 E-mail
                        from Melissa
   12
                        Madrid to
   13                   Alejandro Nunez
                        and Casey
   14
                        Robledo
   15                   (FXG000419)
   16                   **Also currently
                        designated as
   17
                        Plaintiff’s Ex. 5
   18

   19

   20
                Respectfully Submitted,
   21
        DATED: June 1, 2021                       EMPLOYEE JUSTICE LEGAL
   22                                             GROUP, P.C.
   23

   24                                             By: /s/Daniel Friedman
                                                      Kaveh S. Elihu, Esq.
   25                                                 Rhett T. Francisco, Esq.
                                                      Daniel J. Friedman, Esq.
   26
                                                      Attorneys for Plaintiff
                                                      DOMINIQUE WASHINGTON
   27

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                                            JOINT EXHIBIT LIST
        FP 40666955.1
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    1

    2
         DATE: June 1, 2021             FISHER & PHILLIPS LLP
    3

    4
                                    By: /s/Sean F. Daley _________________
    5                                   REGINA A. PETTY
                                        SHAUN J. VOIGT
    6                                   SEAN F. DALEY
                                        Attorneys for Defendant
    7                                   FEDEX GROUND PACKAGE
                                        SYSTEM, INC.
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                                     JOINT EXHIBIT LIST
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    1                                  PROOF OF SERVICE
                                     (CCP § 1013(a) and 2015.5)
    2
               I, the undersigned, am employed in the County of Los Angeles, State of
    3   California. I am over the age of 18 and not a party to the within action; am
        employed with Fisher & Phillips LLP and my business address is 444 South Flower
    4   Street, Suite 1500, Los Angeles, California 90071.
    5           On June 1, 2021, I served the foregoing document entitled JOINT EXHIBIT LIST
        on all the appearing and/or interested parties in this action by placing the original a true
    6   copy thereof enclosed in sealed envelope(s) addressed as follows:

    7    Kaveh S. Elihu, Esq.                              Attorney for Plaintiff
         EMPLOYEE JUSTICE LEGAL GROUP                      DOMINIQUE WASHINGTON
    8    3055 Wilshire Boulevard, Suite 1120
         Los Angeles, CA 90010                             Tel: 213.382.2222
    9                                                      Fax: 213.382.2230
                                                           E-mail: kelihu@ejlglaw.com;
   10                                                      dfriedman@ejlglaw.com;
                                                           hortiz@ejlglaw.com
   11

   12
               [by ELECTRONIC SERVICE] - Based on a court order or an agreement
   13           of the parties to accept service by electronic transmission, I caused the
                documents to be sent to the persons at the electronic notification address
   14           listed above.
   15          [by PERSONAL SERVICE] - I caused to be delivered by messenger such
                envelope(s) by hand to the office of the addressee(s). Such messenger is
   16           over the age of eighteen years and not a party to the within action and
                employed with Express Network, whose business address is 1605 W.
   17           Olympic Boulevard, Suite 800, Los Angeles, CA 90015.
   18          I declare under penalty of perjury under the laws of the State of California
        that the foregoing is true and correct.
   19

   20           Executed June 1, 2021, at Los Angeles, California.
   21     Mayra Hernandez                         By: /s/Mayra Hernandez
                        Print Name                                        Signature
   22

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                                            JOINT EXHIBIT LIST
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